                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

BENJAMIN YOCUM & HEATHER LTD,                    )     CASE NO.: 1:17-CV-00850
et al.                                           )
             Plaintiffs,                         )     Judge Michael R. Barrett
vs.                                              )
                                                 )     Magistrate Judge
BLACK WOLF CONSULTING, INC.,                     )     Stephanie K. Bowman
et al.                                           )
             Defendants.                         )


                    SECOND JOINT STATUS REPORT REGARDING
                  RELATED DEPARTMENT OF LABOR LITIGATION
              U.S. DISTRICT COURT, N.D. ILL., CASE NO.: 1:17-CV-07931



       Pursuant to the May 30, 2018, Memorandum Opinion and Order of United States

Magistrate Judge Stephanie K. Bowman [Doc.#17], Plaintiffs, Benjamin Yocum & Heather, LTD.,

Thomas R. Yocum, Kathryn K. Mecklenborg, Jose Pedro Santos, Deborah L. Evans, Donna H.

Moore, and Anthony J. Iaciofano, and Defendant Benefit Plan Administrators, Inc. hereby jointly

provide the following second status update regarding the Department of Labor litigation filed

against AEU Benefits, LLC, and other plan fiduciaries and administrators in the U.S. District Court

for the Northern District of Illinois, R. Alexander Acosta, Secretary of Labor, United States

Department of Labor v. AEU Benefits, LLC, et al., case number 1:17-CV-007931 (“the DOL

action”).

       The DOL action continues to proceed against all defendants including AEU Benefits, LLC,

AEU Holdings, LLC, Black Wolf Consulting, Inc., SD Trust Advisors, LLC, and AEU Holdings,

LLC Employee Benefit Plan.




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       Several new parties have been added to the DOL action. On September 12, 2018 the AEU

Defendants filed an Amended Answer including an additional Cross-claim against original

Defendant Black Wolf and a Third-Party Complaint adding Third-Party Defendants Rodney

Maynor, Vertias PEO, LLC, James D’Iorio, Charles LaMantia, Rick Wilson, Wilson Benefit

Services, LLC, and Tall Tree Administrators, LLC.

       The Secretary of Labor thereafter filed an Amended Complaint on October 9, 2018

including claims against new parties Rod Maynor, Stephen Satler, Steven Goldberg, Charles

LaMantia, James D’Iorio, Vertias PEO, LLC, Veritas Benefits, LLC, Wilson Benefit Services,

LLC, WBS, LLC, and Donald R. Wilson, as well as additional allegations and claims against

original Defendants Black Wolf, AEU Benefits, LLC, and AEU Holdings, LLC.

       The docket does not reflect any changes in the Scheduling Order previously issued in the

DOL action and attached to our prior Joint Status Report to this Court [Doc.#20]. A brief hearing

was held October 31, 2018 to address administrative issues including withdrawal by certain

counsel and the extension of certain Answer deadlines. It does not appear as though any Status

Hearing took place on November 14, 2018 a previously scheduled.

       Lastly, the Independent Fiduciary filed a Ninth Quarterly Report on October 8, 2018. That

Report largely reflects the Independent Fiduciary’s continued efforts to marshal and control Plan

assets and address questions and concerns of providers and members. A copy of that Ninth Report

is attached hereto as Exhibit A for the Court’s reference.




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Respectfully submitted,

 /s/ Patrick M. O’Neill
(per 11-21-2018 e-mail auth.)                    /s/ Chad E. Willits__________________
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